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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 MPT, Inc.                                   )      CASE NO. 1:04-cv-2357
                                             )
                       Plaintiff,            )      JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Marathon Labels, Inc., and                  )
 Polymeric Converting, LLC                   )      Memorandum of Opinion and Order
                                             )
                       Defendants.           )



        INTRODUCTION

        This matter is before the Court upon Plaintiff’s Motion for Partial Summary Judgment of

 Infringement (Doc. 144). Plaintiff MPT, Inc. (“MPT”) seeks partial summary judgment that

 Marathon Labels, Inc. and Polymeric Converting LLC (collectively “Defendants”)1 have

 infringed certain claims of U.S. Patent No. 5,417,790 (issued May 23, 1995) (the “‘790 patent”)

 and U.S. Patent No. RE 37,164 E (issued May 8, 2001) (the “‘164 patent”).2 For the following


   1
         Marathon Durable Labeling Systems (“MDLS”) was also a party
         when this motion was filed. All claims between MDLS and MPT
         have since been dismissed. (Doc. 154).
   2
         Three other motions were filed. Defendants’ Motion for Summary
         Judgment of Invalidity (Doc. 142) is pending and a separate
         opinion will be issued. Two other Motions (Doc. 140 & 141) have
         been dismissed as moot. (Doc. 154).
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 reasons, Plaintiff’s Motion is DENIED.

        FACTS

        MPT alleges that Defendants infringe Claims 1, 2, 3, 4 and 6 of the ‘790 patent and

 Claim 1 of the ‘164 patent. All of the claims at issue are method claims. In general, the claims

 protect a method of labeling and relabeling reusable containers. A placard typically has an

 adhesive coated face covered by a liner. The liner is removed and the placard is substantially

 permanently attached to a container or object with the adhesive. The placard also has a release

 coated face opposite the adhesive coated face. The release coating receives a pressure sensitive

 adhesive label which may correspond to the contents of the container. The release coating

 allows the label to be removed such that a new label can be placed on the placard when the

 contents of the container change.

        Marathon manufactures a device called the “Smart SurfaceTM Placard.”3 Although the

 parties dispute whether Marathon’s device can infringe the patented method, they do not dispute

 the structure of that device. It includes a liner over an adhesive coating that can be used to attach

 to a container. The adhesive coating is in contact with a first layer of polyester. The first

 polyester layer has a top coat that may have printing. Another layer of adhesive attaches a

 second layer of polyester to the opposite side of the top coat. A Teflon® film is attached to the

 second polyester layer with adhesive. The Teflon® layer allows for the attachment and removal

 of pressure sensitive adhesive labels. Polymeric manufactures the Teflon® layer.

        MPT alleges that Marathon’s customers use the Smart SurfaceTM Placard to practice the


   3
          “Placard” is a term that was defined during claim construction.
          For clarity, the Court will refer to Marathon’s product as the Smart
          SurfaceTM Placard.

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 claimed method and are therefore direct infringers. Marathon is alleged to contribute to this

 infringement by selling the Smart SurfaceTM Placard for use in the method. MPT alleges that

 Marathon induces infringement by marketing the placard for use in the method and by being the

 co-owner of a patent that teaches the use of the Smart SurfaceTM Placard in the method.

 Polymeric is alleged to induce infringement by having designed the Smart SurfaceTM Placard

 with the intent to infringe the patents, by supplying Teflon® for use in the Smart SurfaceTM

 Placard and by virtue of its co-ownership of a patent that teaches the use of the Smart SurfaceTM

 Placard in the method.

        Defendants present two lines of defense. First, they dispute that their customers are

 direct infringers. They argue that the claim limitations of “substantially permanent” attachment

 and a “release coating” of a “placard” are not met by the users of the Smart SurfaceTM Placard.

 Second, Defendants argue that they cannot be liable for inducement or contributory infringement

 even if their customers infringe the patents.

        STANDARD OF REVIEW

        Summary judgment should be granted “if the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

 genuine issue of material fact and that the moving party is entitled to judgment as a matter of

 law.” Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); LaPointe v.

 UAW Local 600, 8 F.3d 376, 378 (6th Cir. 1993). The burden of showing the absence of any

 such genuine issues of material facts rests with the moving party:

                [A] party seeking summary judgment always bears the initial
                responsibility of informing the district court of the basis for its
                motion, and identifying those portions of “the pleadings,
                depositions, answers to interrogatories, and admissions on file,

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                together with the affidavits, if any,” which it believes demonstrates
                the absence of a genuine issue of material fact.

 Celotex, 477 U.S. at 323. A fact is material only if its resolution might affect the outcome of the

 lawsuit under the governing law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        Once the moving party has satisfied its burden of proof, the burden then shifts to the

 nonmoving party pursuant to Federal Rule of Civil Procedure 56(e), which provides:

                When a motion for summary judgment is made and supported as
                provided in this rule, an adverse party may not rest upon the mere
                allegations or denials of the adverse party’s pleadings, but the
                adverse party’s response, by affidavits or as otherwise provided in
                this rule, must set forth specific facts showing that there is a
                genuine issue for trial. If the adverse party does not so respond,
                summary judgment, if appropriate, shall be entered against the
                adverse party.

        “[I]n deciding a motion for summary judgment, ‘[t]he evidence of the nonmovant is to be

 believed, and all justifiable inferences are to be drawn in his favor.’” M. Eagles Tool Warehouse,

 Inc. v. Fisher Tooling Co., Inc., 439 F.3d 1335, 1339 (Fed. Cir. 2006) (quoting Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)).

        DISCUSSION

        MPT alleges that Marathon and Polymeric induce others to infringe and that Marathon is

 a contributory infringer. “Although not directly infringing, a party may still be liable for

 inducement or contributory infringement of a method claim under 35 U.S.C. §§ 271(b), (c) if it

 sells infringing devices to customers who use them in a way that directly infringes the method

 claim.” Linear Tech. Corp. v. Impala Linear Corp., 379 F.3d 1311, 1326 (Fed. Cir. 2004). A

 finding of direct infringement by users of the Smart SurfaceTM Placard is a prerequisite to a

 finding of inducement or contributory infringement. Joy Techs. v. Flakt, Inc., 6 F.3d 770, 774


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 (Fed. Cir. 1993).

        Marathon’s customers do not infringe unless they perform every element or limitation of

 the method claim at issue. Research Plastics, Inc. v. Fed. Packaging Corp., 421 F.3d 1290, 1297

 (Fed. Cir. 2005). Defendants focus on two limitations of the ‘790 and ‘164 patents. First,

 Defendants argue that users of the Smart SurfaceTM Placard do not “substantially permanently”

 attach that device to containers. Second, Defendants argue that the Smart SurfaceTM Placard

 does not have a “release coating” on the “placard” as those terms were defined in the Court’s

 claim construction order.

 Substantially Permanently

        All of the claims at issue invoke the concept of “substantially permanently” attaching or

 affixing a placard to an object or container:

        (‘790 patent, Claim 1):

        c) substantially permanently attaching the placard to the object by adhering said
        placard to said container using said adhesive coated face;

        (‘790 patent, Claim 4):

        a) substantially permanently affixing a placard to the container with a release
        coated face oriented outwardly by pressing a pressure sensitive placard adhesive
        layer against the container;

        (‘790 patent, Claim 6):

        a) substantially permanently affixing a placard to one such structure with a release
        coated surface of the placard oriented outwardly;

        (‘164 patent, Claim 1):

        a) substantially permanently affixing a placard to one such object with a release
        coated surface of the placard oriented outwardly;

        The parties did not ask the Court to construe substantially permanently. They did,

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 however, address the meaning of permanently. Plaintiff advocated that “‘Permanently’ means

 capable of continuing or enduring through multiple cycles of labeling and relabeling of the

 container.” Defendants countered that “‘Permanently’ means affixed to an ‘object’ or

 ‘container’ such that a placard permanently attached or affixed to the substrate cannot be

 removed without damaging the placard or the ‘object’ or ‘container.’”

        The Court adopted Defendants’ definition. The patent specifications’ only mention of

 permanent was with respect to the adhesive of the labels that attach to the release coated face of

 the placard. MPT’s president provided the patent office with a definition of a permanent

 adhesive as “[a]n adhesive designed to stick to a substrate without edge lifting that cannot be

 removed without damaging either the label or the substrate” and a removable adhesive as “[a]n

 adhesive designed to stick to a substrate without edge lifting that can be removed without

 damage to either the label or the substrate.” MPT argued that these definitions were inapplicable

 to the claims, since the permanent adhesive is only mentioned with respect to the labels. The

 Court disagreed. In some of the claims at issue the placard is substantially permanently attached

 to a container or object with an adhesive and the specification describes attaching the placard

 with an adhesive.

        MPT presents the following evidence that Marathon’s Smart SurfaceTM Placard utilizes a

 permanent adhesive. Marathon’s 30(b)(6) deponent Hurley testified that the Smart SurfaceTM

 Placard is affixed to a reusable container with “a permanent bond” and that the adhesive used is

 “a permanent pressure sensitive adhesive.” MPT has provided specification sheets for the

 adhesive used by Marathon. These explain that the adhesive is used for “durable goods labeling”

 and “[o]ffers strong permanent bonding to a wide variety of substrates including high surface


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 energy (HSE), low surface energy (LSE) and powder coat substrates.”

        Defendants counter with the affidavit of Marathon’s 30(b)(6) deponent Hurley which

 explains his earlier description of Marathon’s products as having a permanent bond as follows:

        A “permanent bond,” as I understand it in the labeling industry, means when the
        item in question, in this case my, SMART SURFACETM PLACARD is affixed, it
        will not slip, slide or fall off the substrate.

        MPT replies that the Court should not consider the Hurley affidavit. He previously

 testified that the adhesive of the Smart SurfaceTM Placard can create a “permanent bond” using a

 “permanent pressure sensitive adhesive.” He now states in an affidavit that by permanent bond

 he meant “it will not slip, slide or fall off the substrate.” MPT is correct. A permanent adhesive

 is one that will form a permanent bond in many applications. Hurley’s affidavit essentially

 adopts the definition of a removable adhesive that never forms a permanent bond. The Court

 finds that the affidavit carries no evidentiary weight because it directly contradicts his previous

 deposition testimony. Aerel, S.R.L. v. PCC Airfoils, L.L.C., 2006 U.S. App. LEXIS 12601, *26

 (6th Cir. May 23, 2006).4

        MPT also points to U.S. Patent No. 6,667,086 (issued Dec. 23, 2003) (the “‘086 patent”).

 The patent was originally assigned to Polymeric and claims the use of Teflon® in labeling


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          Even if this affidavit were not directly contradictory, the Court
          finds that it “constitutes an attempt to create a sham fact issue.”
          Aerel, S.R.L., 2006 U.S. App. LEXIS 12601 at *27. The Court
          must consider “whether the affiant was cross-examined during his
          earlier testimony, whether the affiant had access to the pertinent
          evidence at the time of his earlier testimony or whether the
          affidavit was based on newly discovered evidence, and whether the
          earlier testimony reflects confusion [that] the affidavit attempts to
          explain.” Id. (quoting Franks v. Nimmo, 796 F.2d 1230, 1237
          (10th Cir. 1986)). None of these factors works in Hurley’s favor
          here.

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 applications. The ‘086 patent specification describes a comparison test between that invention,

 the ‘790 patent and U.S. Patent No. 5,628,858 (issued May 13, 1997) (the “‘858 patent”).5 The

 comparison test is related to the release surfaces of the products. However, it does discuss the

 various inventions as being used for the same purpose and incorporates the ‘790 and ‘858 patents

 by reference. The Summary of the Invention and Claim 11 of the ‘086 patent then describe

 “substantially permanently attaching the support structure to the object by adhering the

 laminated support structure to the object using the adhesive coated face . . . .” These are the only

 instances where substantially permanent attachment is mentioned in the ‘086 patent.

           Defendants fault MPT’s reference to the ‘086 patent’s use of “substantially

 permanently.” They note that the ‘086 application was filed on August 24, 2001 and issued on

 December 23, 2003—well after the substantially permanently language was added to the

 applications for the ‘790 and ‘164 patents. As evidence that the definition may have changed

 over time, Defendants submit the testimony of Michael Kennedy of MPT. When asked whether

 he agreed with a definition of permanent as unable to “be removed without damaging either the

 label or the substrate” he responded that “I wouldn’t necessarily agree with that definition

 today.”

           Although Defendants contend that the definition of substantially permanently changed

 between the time of the MPT patents and its ‘086 patent, the ‘086 patent itself compels the

 opposite conclusion. The word permanent appears relatively few times in the ‘086 patent and

 every instance appears to relate to the ‘790 and ‘164 patents through incorporation or the use of

 the same or similar language. Moreover, MPT notes that a 2004 reference relied upon by


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            The ‘858 patent eventually reissued as the ‘164 patent.

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 Defendants during Markman briefing has a definition similar to that submitted by MPT during

 prosecution of its patents.

        The Court concludes that the Hurley testimony, adhesive specifications and the ‘086

 patent all support a finding that the Smart SurfaceTM Placard has a permanent adhesive such that

 it is capable of substantially permanent attachment. However, this does not resolve the

 infringement issue. MPT’s patents are in the form of method claims, not apparatus claims. In

 other words, MPT does not have an exclusive right to make, sell and use placards with

 substantially permanent adhesives. Rather, it is only an infringement if someone actually

 substantially permanently attaches the Smart SurfaceTM Placard to a substrate while performing

 the method.

        MPT has failed to prove that Marathon’s customers substantially permanently attach the

 Smart SurfaceTM Placard to perform the patented method. MPT has not provided a single test of

 the Smart SurfaceTM Placard on any surface, let alone the actual surfaces used by Marathon’s

 customers. This omission is critical because industry sources are clear that the actual strength of

 an adhesive bond also depends on variables such as the substrate material, length of time it is

 applied and the environment that the adhesive is exposed to during use. MPT’s president

 Michael Kennedy testified similarly:

        Each suppler will identify to us what they consider a permanent. Again, they’ll
        qualify all the statements with please test for your end use. So I could buy what is
        quote, unquote, termed a permanent today, put it onto a package but still be able
        to remove it after a certain period of time. A lot of it has to do with how long you
        put it on, the dwell time, the type of environment and the substrate.




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             The only tests of substantially permanent attachment6 to actual objects were provided by

  Defendants. Although MPT’s lack of evidence as to how Marathon’s customers actually attach

  the Smart SurfaceTM Placards precludes summary judgment, the Court will discuss each test

  briefly.

             The first was conducted by Defendants’ expert Stempel. Stempel placed placards on his

  refrigerator, his floor and a Tupperware container in his home. He waited 10-20 minutes and

  attempted to remove each and entered the results on a handwritten 3x2 matrix. All of the

  applications resulted in “Easy Removal” and “No Distortion.”

             A second test was conducted by Legal-Eze Litigation Consulting and was provided to the

  Court on a DVD. The individuals performing the test used a commercially available Sterilite®

  container as the substrate. Six products—four made by Marathon, one of a type sold by MPT

  and a prototype identified as “Teflon® surface placard with removable adhesive on back

  surface”—were placed on the container by hand. After approximately five minutes each was

  removed using a razor-edge tool. According to the individuals conducting the test, the products

  were not damaged and only one of the samples left any adhesive residue on the container. This

  residue was removed with acetone and a paper towel. The testers indicated that there was no

  damage to the container.



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              MPT notes that the claims of the ‘790 and ‘164 patents refer to
              substantially permanently attaching or affixing the placard. The
              Court agrees that substantially is a term of magnitude or degree.
              Deering Precision Instruments, L.L.C. v. Vector Distrib. Sys., 347
              F.3d 1314, 1322-23 (Fed. Cir. 2003). However, even if
              substantially permanently does not require damage to every
              placard, MPT has failed to provide any evidence that Marathon’s
              customers attach placards in this manner.

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         MPT is correct that the Stempel test was haphazard at best and is entitled to no

  evidentiary weight. Stempel tested the placards in his home. He attached them to his

  refrigerator, his floor and a piece of Tupperware without explaining how any of these surfaces

  are relevant to the containers used by Marathon’s customers. He did not prepare the surfaces in

  a scientific manner and did not know the refrigerator material or the type of coating on the floor.

  He did not standardize the force used to attach the placards or the time between placement and

  removal. Time is critical because some adhesive bonds strengthen over time.

         The only controlled test of substantially permanent attachment was the DVD test

  submitted by Defendants. Having reviewed the test, the Court generally agrees with the

  Defendants’ characterization of the results. The samples were firmly placed on the Sterilite®

  container and easily removed with the assistance of a removal tool. One of the samples left

  behind a minimal amount of adhesive while the rest were removed totally intact without any

  visible damage.7 In short, a reasonable juror could conclude that the samples in the test were not

  substantially permanently attached.

         MPT’s expert Prahl disputes whether the test represents actual conditions.8 First, he

  challenges the choice of the container as “a special case chosen because of its non-absorbing



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           Prahl believes that three of the test samples were stretched.
           Although the Court agrees that stretching may evidence damage to
           the placard, it concludes that reasonable jurors could find that the
           placards were not stretched.
   8
           Defendants have filed a motion to strike Prahl’s analysis of the
           test. The Court finds that the Prahl analysis is within the scope of
           his initial expert report and any arguments inconsistent with the
           Court’s Markman Order have been rejected. However, the Court
           does agree that Defendants are entitled to depose Prahl regarding
           his analysis of the test. A separate Order will be issued.
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  characteristics.” Second, he argues that the condition of the substrate was not established prior

  to the test. Third, Prahl believes that the placards were applied with very little pressure. Fourth,

  Prahl argues that the 5 minute dwell time was inadequate. Fifth, Prahl believes that the testing

  for adhesive residue was faulty. Sixth, Prahl takes issue with the fact that the test only addressed

  a single removal situation of peeling.9

         Some of Prahl’s concerns may be valid. However, his observations actually highlight the

  problem with MPT’s infringement argument. The mere presence of a permanent adhesive on the

  Smart SurfaceTM Placard cannot satisfy the substantially permanent attachment claim limitation.

  The Court has no evidence that the permanent adhesive would actually substantially permanently

  attach in Marathon’s customers’ particular applications, or of the substrates or environments in

  which the Smart SurfaceTM Placard is used. Accordingly, the Court concludes that MPT has not

  met its burden of proving that Marathon’s customers substantially permanently attach

  Marathon’s products to containers. Accordingly, there can be no direct infringement and

  summary judgment must be denied.

  Placard

         The term placard appears in all of the asserted claims and is first described in the

  independent claims as follows:

         (‘790 patent, Claim 1):

         a) providing a placard for supporting pressure-sensitive adhesive-backed labels,
         said placard having a release coated face and an adhesive coated face, and a liner
         covering said adhesive coating;


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            MPT also argues that the test was akin to an expert report because
            the tester announced conclusions. However, the individuals
            conducting the test were merely conveying factual information that
            was also visible on the DVD.
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         (‘790 patent, Claim 4):

         a) substantially permanently affixing a placard to the container with a release
         coated face oriented outwardly by pressing a pressure sensitive placard adhesive
         layer against the container;

         (‘790 patent, Claim 6):

         a) substantially permanently affixing a placard to one such structure with a release
         coated surface of the placard oriented outwardly;

         (‘164 patent, Claim 1):

         a) substantially permanently affixing a placard to one such object with a release
         coated surface of the placard oriented outwardly;

         The Court’s claim construction order defined a placard as “a structure adapted for

  supporting a pressure sensitive adhesive backed label.” Defendants had sought for the definition

  to include an adhesive coating and a release coated face. The Court declined to include these in

  the definition because the surface or face of the placard is defined within each claim.

         Defendants noninfringement argument focuses on the release coating or release coated

  face of the placard. They posit that the placard claim limitation is embodied by the adhesively

  bonded layers of polyester of the Smart SurfaceTM Placard. Because all of the claims further

  define a placard as having a release coated face or surface, they argue that the face or surface of

  the polyester layer opposite the adhesive coated face must have a release coating to infringe.

  Noting that the Teflon® film attaches to the polyester layer with an adhesive, they conclude that

  the Smart SurfaceTM Placard in fact has two adhesive coated faces. In other words, because an

  adhesive layer is interposed between the placard (as defined by Defendants) and the Teflon®

  layer, the placard cannot have a release coating or release coated face.

         The Court agrees that the placard does not include the release coating. During claim

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  construction the Court essentially adopted MPT’s suggestion that a coating is a covering. The

  placard has a release coated face in all of the claims at issue and an adhesive coated face in

  Claims 1-4 of the ‘790 patent. Although a placard is not limited to the specific film described in

  the specifications,10 a placard with faces that are covered simply cannot also include the

  coverings.

         MPT next argues that even under Defendants’ definition of placard the Teflon® of the

  Marathon product covers the placard as required by the Court’s definition of release coating.

  The Court concludes that MPT has not met its burden of proving that the Teflon® covers the

  second polyester layer. MPT has not provided any evidence regarding the nature of the adhesive

  layer interposed between the placard and the Teflon® coating. Although the Court agrees that

  the mere presence of some adhesive to attach the Teflon® to the placard face does not preclude a

  finding that the Teflon® coats the placard, MPT cannot meet its burden on summary judgment

  without some evidence of the nature of that adhesive.

  Conclusion–Direct Infringement

         The Court finds that there are genuine issues of material fact as to whether Marathon’s

  customers “substantially permanently” attach Marathon’s products to containers and whether the

  “placard” of Marathon’s Smart SurfaceTM Placard has a “release coating.” Accordingly, the

  Court concludes that MPT has not met its burden of proving infringement.



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           MPT argues that the Court’s claim construction of a placard as “a
           structure adapted for supporting a pressure sensitive adhesive
           backed label” supports its position that the placard is a unitary item
           that includes the coating. However, MPT’s center film or
           Marathon’s polyester layers could also meet this definition since
           these pieces provide support for the label.

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  Inducement and Contributory Infringement

         Both inducement and contributory infringement require direct infringement by another.

  Because MPT has not met its burden as to direct infringement it has also failed to demonstrate

  inducement and contributory infringement.

         CONCLUSION

         For the foregoing reasons, Plaintiff’s Motion is DENIED.



                IT IS SO ORDERED.



                                       /s/ Patricia A. Gaughan
                                       PATRICIA A. GAUGHAN
                                       United States District Judge



 Dated: 7/14/06




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